Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 1 of 12




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  SHERRI HURT,
         Plaintiff,
  v.
  SCHOOL DISTRICT NO. 1 IN THE COUNTY OF DENVER AND STATE OF COLORADO,
         Defendant.


                           COMPLAINT AND JURY TRIAL DEMAND




         The Plaintiff, Sherri Hurt, by and through counsel, hereby files the following Complaint

  and Jury Trial Demand against the Defendant:



                                    NATURE OF THE ACTION

         This action is brought to redress the Defendant’s violations of the Americans with

  Disabilities Act (“ADA”), 42 U.S.C. §12101, et seq. Specifically, the Plaintiff alleges that the

  Defendant: refused to make reasonable accommodation for her known physical disability in

  violation of 42 U.S.C. §12112(a) and (b); retaliated against her for exercising her rights under the

  ADA in violation of 42 U.S.C. §12203; and discharged her from employment on the basis of her

  disability in violation of 42 U.S.C. § 12112.

                                   JURISDICTION AND VENUE

         1.       Jurisdiction of this Court is proper pursuant to 42 U.S.C. § 12117(a) and 28

  U.S.C. §1331.


                                                   1
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 2 of 12




            2.   The Defendant is located, the Plaintiff resides, and the events and omissions

  giving rise to the claims asserted herein occurred, in the State of Colorado. Therefore, venue is

  proper pursuant to 28 U.S.C. §1391(b).

                                  ADMINISTRATIVE PROCESS

            3.   The allegations set forth in paragraphs 1 through 2 of this Complaint and Jury

  Trial Demand are incorporated herein by reference.

            4.   The Plaintiff timely filed a charge of discrimination with the United States Equal

  Employment Opportunity Commission (“EEOC”), i.e., Charge No. 541-2020-01203.

            5.   On January 22, 2021, the United States Department of Justice issued to Ms. Hurt

  a notice of right-to-sue regarding her charge of discrimination. The notice gave Ms. Hurt the

  right to institute a civil action in federal court under the ADA within 90 days of her receipt of the

  notice.

            6.   All administrative prerequisites to filing this action have been met.

                                               PARTIES

            7.   The allegations set forth in paragraphs 1 through 6 of this Complaint and Jury

  Trial Demand are incorporated herein by reference.

            8.   The Plaintiff, Sherri Hurt (“Ms. Hurt”), is a resident of Aurora, Colorado. Prior to

  the termination of her employment, Ms. Hurt worked for the Defendant as an Office Support

  professional in its Medicaid department.

            9.   The Defendant, School District No. 1 in the County of Denver and State of

  Colorado (“School District” or “District”), is a Colorado public school district duly constituted

  and existing pursuant to applicable Colorado laws. The Defendant’s schools and administrative


                                                    2
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 3 of 12




  offices are located in Denver, Colorado. The School District is a large employer, with more than

  10,000 employees.

                                    GENERAL ALLEGATIONS

         10.     The allegations set forth in paragraphs 1 through 9 of this Complaint and Jury

  Trial Demand are incorporated herein by reference.

         11.     The School District hired Ms. Hurt to work as an Office Support professional in

  its Medicaid department in or about 2007. Ms. Hurt’s duties included, among others, entering

  data related to Medicaid services provided at schools in the District.

         12.     In 2008, doctors diagnosed Ms. Hurt with multiple sclerosis (“MS”). Although

  her symptoms presented some challenges, Ms. Hurt performed all of her job duties successfully

  and without accommodation from 2008 until 2015.

         13.     By 2015, symptoms related to Ms. Hurt’s MS had progressed to the point where

  walking became difficult for her. Ms. Hurt could walk with a cane or walker, but not for long

  distances.

         14.     Seeking ways to overcome the challenges brought about by her MS symptoms,

  Ms. Hurt spoke with her then-supervisor, Medicaid Supervisor Rob Hendershot (“Mr.

  Hendershot”), about possible workplace accommodations.

         15.     Mr. Hendershot and Ms. Hurt agreed that to have Ms. Hurt work from home two

  days a week might ease some of the difficulties she faced in getting to the office, such as

  walking, standing, and climbing stairs.

         16.     Working from home two days a week helped Ms. Hurt in the manner she and Mr.

  Hendershot anticipated it would. However, Ms. Hurt’s MS symptoms continued to progress and


                                                   3
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 4 of 12




  worsen. For example, Ms. Hurt’s ability to walk continued to deteriorate; MS also affected Ms.

  Hurt’s ability to control her bladder. Eventually, Ms. Hurt became wheelchair-bound and lost

  the ability to drive.

          17.     As Ms. Hurt’s symptoms progressed, she and Mr. Hendershot worked together to

  adjust her work-from-home accommodation. Namely, they increased the amount of time Ms.

  Hurt spent working from home and decreased the amount of time she was required to be in the

  District’s Medicaid office.

          18.     Ms. Hurt worked from home full-time as an accommodation for her MS

  symptoms. The School District moved Ms. Hurt’s District-provided computer and other

  equipment to her home so that she could work as productively there as at her workstation in the

  Medicaid office.

          19.     Ms. Hurt’s work-from-home accommodation worked well for a number of years.

  The accommodation was cost-neutral to the School District, and it allowed Ms. Hurt to be more

  productive than she could have been from the Medicaid office—e.g., from home, she could be in

  close proximity to the bathroom, and she was not faced with the accessibility challenges she

  faced in the office as a wheelchair-bound person.

          20.     During the period that Ms. Hurt worked from home, there were times that Mr.

  Hendershot or other District managers required her presence in the office. On those occasions,

  Mr. Hendershot generally provided Ms. Hurt with reasonable notice—i.e. 24 hours or so—which

  allowed Ms. Hurt enough time to arrange for transportation to the District’s downtown Denver

  Medicaid office.




                                                  4
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 5 of 12




         21.     Mr. Hendershot passed away during the 2018-19 school year. With Mr.

  Hendershot’s passing, his supervisor, Tom O’Keefe, the School District’s Director of Operations

  for Student Equity and Opportunity, took on a more active role in the management of the

  Medicaid Department.

         22.     In April 2019, Mr. O’Keefe scheduled a meeting with Ms. Hurt to inquire about

  her work-from-home accommodation, which by that time had been in place, allowing Ms. Hurt

  to perform successfully all of her duties, for several years. Mr. O’Keefe informed Ms. Hurt that,

  going forward, he expected her to work primarily in the Medicaid office instead of at home,

  unless she could provide the District with updated medical documentation supporting her need to

  work remotely.

         23.     Ms. Hurt scheduled an appointment with her physician, Dr. Peter Bergman, which

  took place in or about August 2019. Dr. Bergman filled out a form on School District letterhead

  called “Medical Verification in Response to an Accommodation Request.” On the form, Dr.

  Bergman identified Ms. Hurt’s medical diagnosis—i.e. progressive, non-relapsing multiple

  sclerosis. Dr. Bergman noted that MS affected a number of Ms. Hurt’s major life activities—i.e.

  toileting, walking, standing, and lifting. Dr. Bergman recommended that Ms. Hurt work from

  home on a permanent basis, but left room for the possibility that she might also work in the

  office when possible.

         24.     Ms. Hurt gave the School District a copy of Dr. Bergman’s completed medical

  verification form in or about early-September 2019. The School District treated Ms. Hurt’s

  providing updated medical documentation regarding her existing accommodation, which she

  provided in response to Mr. O’Keefe’s directive, as a request for a new accommodation.


                                                  5
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 6 of 12




  Accordingly, the School District’s ADA Coordinator contacted Ms. Hurt to schedule a meeting

  where they would discuss her request to continue working from home.

           25.      The meeting took place on or about September 23, 2019. During the meeting,

  Ms. Hurt explained her medical condition and detailed the physical limitations it causes her to

  experience. Ms. Hurt discussed her work-from-home accommodation, explaining how it had

  been effective in helping her perform the essential functions of her job over the last several

  years.

           26.      During the September 23, 2019 meeting, a District Human Resources official told

  Ms. Hurt that the District planned to change some of her job duties. Most pertinent here, the

  Human Resources official explained that, once the changes went into effect, Ms. Hurt would be

  expected to travel around the District to various schools, where she would be expected to provide

  in-person training and materials to staff members at those schools who interacted with the

  Medicaid Department. Ms. Hurt did not view that change as posing significant challenges—she

  told those in attendance at the meeting that if the District expected her to visit schools in order to

  provide in-person training, she would merely need reasonable advance notice in order to arrange

  transportation.

           27.      In or about early October 2019, the District began formalizing changes to Ms.

  Hurt’s job description. As revised, the job description emphasized the duty of traveling to

  various schools to provide materials and in-person training.

           28.      It took several months for the District to finalize the process of changing Ms.

  Hurt’s job description. In January 2020, after the process was completed, the District’s new

  ADA Coordinator, Kim Crouch, contacted Ms. Hurt to see if she wanted to provide the District


                                                     6
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 7 of 12




  with any additional information or documentation regarding her medical condition or requested

  accommodations. Having provided the District with a completed medical documentation form

  from her physician, and having asked that she be given reasonable notice when she would be

  tasked with travelling to schools, Ms. Hurt could think of nothing else to share.

         29.     Ms. Crouch contacted Ms. Hurt several days later to schedule a meeting,

  ostensibly to discuss whether the District would continue accommodating Ms. Hurt’s disability

  by allowing her to continue working from home, and by giving her approximately one day’s

  notice when she needed to travel to District schools.

         30.     The meeting took place on or about January 28, 2020. During the meeting, Ms.

  Crouch confirmed that the changes to Ms. Hurt’s job that had been contemplated and discussed

  in September 2019 had now been formalized and would soon be implemented. Ms. Crouch

  pointed out that, as amended, Ms. Hurt’s job required travel to District schools. Then, pointing

  to the portion of Dr. Bergman’s medical documentation form where he recommended that Ms.

  Hurt work from home on a permanent basis, Ms. Crouch insisted that Ms. Hurt had failed to

  provide sufficient documentation that she was able to travel around the District, as the job now

  required. Rather, Ms. Crouch extrapolated from Dr. Bergman’s recommendation that Ms. Hurt

  was permanently homebound. On that basis, Ms. Crouch maintained the District had no choice

  but to deny Ms. Hurt’s accommodation request.

         31.     Ms. Hurt was not homebound, as she explained to District officials in September

  2019, and as Dr. Bergman indicated on the medical documentation form he completed. While

  Dr. Bergman suggested Ms. Hurt should work from home on a permanent basis, he also

  recommended she should work from home when possible due to her MS symptoms.


                                                   7
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 8 of 12




         32.     Neither Ms. Crouch nor any other District administrator asked Ms. Hurt to clarify

  any confusion created by Dr. Bergman’s recommendations. If they had, Ms. Hurt could have

  asked Dr. Bergman to clarify that she was able to travel with reasonable notice, and she should

  work from home on days when she did not need to be at a school.

         33.     The School District, however, did not afford Ms. Hurt that opportunity. Instead,

  Ms. Crouch informed Ms. Hurt the District was denying her accommodation request and

  removing her from the position she had held for well over a decade. As support for the District’s

  determination, Ms. Crouch indicated Ms. Hurt’s revised position would require her to travel 80%

  of the time to provide training about Medicaid processes. According to Ms. Crouch, that work

  could not be done from home.

         34.     Ms. Crouch was incorrect. Trainings could have been conducted on virtual

  platforms, such as Zoom, WebEx, or Google. Materials related to those trainings could have

  been sent to participants electronically, whether by email or online document sharing platforms,

  such as Dropbox or Google Drive.

         35.     Given the power disparity between employer and employee, Ms. Hurt was not in

  a position to argue the merits of the District’s faulty decision. Instead, she turned her focus

  toward trying to salvage her employment, even if that meant learning to do a new job in the

  District. To that end, Ms. Hurt asked Ms. Crouch and other administrators in attendance at the

  January 28, 2020 meeting to help her locate a position in the District that she could fill in a work-

  from-home capacity, consistent with Dr. Bergman’s recommendation.

         36.     Ms. Crouch indicated the District would try to find Ms. Hurt a position she could

  fill from home. On March 3, 2020, Ms. Crouch reported to Ms. Hurt that she had been unable to


                                                    8
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 9 of 12




  locate any positions among all the vacancies in the District that Ms. Hurt could fill in a remote

  work capacity.

         37.       Ironically, a few weeks later thousands of District employees began working from

  home after the COVID-19 pandemic brought about widespread school and District office

  closures.

         38.       In claiming there was not a single position in the District Ms. Hurt could fill in a

  remote work capacity, Ms. Crouch gave Ms. Hurt two options—i.e. she could resign from her

  employment with the District, or the District would proceed to terminate her employment.

         39.       Ms. Hurt did not resign. Instead, she appealed Ms. Crouch’s decision to deny her

  the accommodation requests via the District’s internal process for doing so.

         40.       The District’s Director of Benefits, Adam Barnett, reviewed Ms. Hurt’s appeal.

  In denying the appeal, Mr. Barnett asserted Ms. Hurt’s revised job description called on her to

  travel 40% of the time (Ms. Crouch earlier set that percentage at 80%), and that it would have

  been an “undue hardship” on the Medicaid Department to inform Ms. Hurt when she would be

  expected to visit schools. Like Ms. Crouch, Mr. Barnett told Ms. Hurt that if she chose not to

  resign, the District would terminate her employment.

         41.       Ms. Hurt did not resign, and, on April 6, 2020, the District made good on its

  threats to terminate her employment.

         42.       In terminating Ms. Hurt’s employment, the District deprived her of, inter alia,

  wages, benefits, retirement contributions, and employment opportunities.




                                                     9
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 10 of 12




                                FIRST CLAIM FOR RELIEF
             Americans with Disabilities Act – Denial of Reasonable Accommodation

          43.     The allegations set forth in paragraphs 1 through 42 of this Complaint and Jury

   Trial Demand are incorporated herein by reference.

          44.     The Plaintiff is and was at all times relevant hereto an individual with a

   “disability” as that term is defined in 42 U.S.C. §12102(2) – i.e., she has a physical impairment

   which substantially limits one or more of his major life activities, she has a record of such an

   impairment, and she was/is regarded by the Defendant as having such an impairment.

          45.     The Plaintiff is and was at all times relevant hereto a “qualified individual with a

   disability” as that term is defined in 42 U.S.C. §12111(8) – i.e., she was and is able, with

   reasonable accommodation, to perform the essential functions of her position, both before and

   after the District revised her job description.

          46.     The Defendant discriminated against the Plaintiff on the basis of disability by not

   making reasonable accommodation for the Plaintiff’s known physical disability, in violation of

   42 U.S.C. §12112(a) and (b)(5)(A).

                                 SECOND CLAIM FOR RELIEF
                             Americans with Disabilities Act – Retaliation

          47.     The allegations set forth in paragraphs 1 through 46 of this Complaint and Jury

   Trial Demand are incorporated herein by reference.

          48.     The Plaintiff exercised her rights under the ADA by seeking reasonable

   accommodation for her disability, and she also opposed the Defendant’s refusal to make such

   reasonable accommodation in violation of the ADA.




                                                     10
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 11 of 12




           49.    The Defendant retaliated against the Plaintiff for the Plaintiff’s actions in seeking

   reasonable accommodation and in opposing the Defendant’s refusal to make such reasonable

   accommodation in violation of 42 U.S.C. §12203.



                                 THIRD CLAIM FOR RELIEF
                    Americans with Disabilities Act – Discriminatory Discharge

           50.    The allegations set forth in paragraphs 1 through 49 of this Complaint and Jury

   Trial Demand are incorporated herein by reference.

           51.    The Plaintiff was and is qualified, with reasonable accommodation, to perform all

   the essential functions of her job, both before and after the District revised her job description.

           52.    The Defendant terminated Plaintiff’s employment based on her disability. The

   Plaintiff’s disability was a determining factor in the Defendant’s decision to terminate her

   employment.



                                        PRAYER FOR RELIEF

           WHEREFORE, the Plaintiff, Sherri Hurt, respectfully requests that this Court enter

   judgment for the Plaintiff and against the Defendant on all claims for relief and award to the

   Plaintiff:

           a.     damages for the Plaintiff’s lost past and future wages and employment benefits,

   including but not limited to lost health, disability and life insurance benefits and lost retirement

   benefits;

           b.     damages for all emotional injuries suffered by the Plaintiff in an amount to be

   determined at trial;

                                                    11
Case 1:21-cv-00865-PAB-MEH Document 1 Filed 03/24/21 USDC Colorado Page 12 of 12




           c.     prejudgment and postjudgment interest;

           d.     costs and reasonable attorney fees; and

           e.     such other and further relief as this Court deems just and proper.



                                        JURY TRIAL DEMAND

           The Plaintiff hereby demands that all issues triable to a jury in this action be tried to a

   jury.

           Dated this 24th day of March 2021.


                                                          Respectfully submitted,

                                                          /s/ Erik G. Bradberry
                                                          Erik G. Bradberry, #49894
                                                          Colorado Education Association
                                                          1500 Grant Street
                                                          Denver, CO 80203
                                                          (303) 837-1500
                                                          Fax: (303) 861-2039
                                                          ebradberry@coloradoea.org
                                                          Attorney for Plaintiff


   Plaintiff’s Address:
   1640 Ironton Street
   Aurora, CO 80010




                                                     12
